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                                 14               TWEEN BRANDS, INC.

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                                 16                                               UNITED STATES DISTRICT COURT

                                 17                                               EASTERN DISTRICT OF CALIFORNIA

                                 18               HOLLI MENDEZ, an individual, and              Case No. 2:10-cv-00072-MCE-DAD
                                                  KATHRYN HAWKES, on behalf of
                                 19               themselves and others similarly situated      ORDER FOR FINAL APPROVAL OF
                                                  and on behalf of The State of California      CLASS ACTION SETTLEMENT
                                 20               Labor and Workforce Development
                                                  Agency as a Private Attorney General,
                                 21
                                                                    Plaintiffs,
                                 22
                                                         v.
                                 23
                                                  TWEEN BRANDS, INC.,
                                 24               a Delaware Corporation,

                                 25                                 Defendant.

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                                                        REVISED [PROPOSED] ORDER OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                                                    Case 2:10-cv-00072-MCE-DAD Document 36 Filed 08/08/11 Page 2 of 4
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                                     2                   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                     3                   Plaintiffs’ unopposed Motion for Final Approval of Class Action Settlement came before this

                                     4            Court on July 28, 2011. The proposed settlement in this case was preliminarily approved by this

                                     5            Court on March 29, 2011. Pursuant to the Court's Preliminary Approval Order and the Notice

                                     6            provided to the Class, the Court conducted a final fairness hearing as required by Federal Rule of

                                     7            Civil Procedure 23(e). The Court has reviewed the materials submitted by the parties and has heard

                                     8            arguments presented by counsel at the hearing. For the reasons cited on the record as well as those

                                     9            stated hereafter, the Court finds and orders as follows:

                                 10                      The Court hereby grants final approval of the Class Settlement based upon the terms set forth

                                 11               in the Preliminary Approval Order and the Stipulation and Agreement of Compromise and

                                 12               Settlement ("Settlement" or "Settlement Agreement") filed by the parties. The Settlement appears to

                                 13               be fair, adequate, and reasonable to the Class.

                                 14                      1.      The Court finds that this action satisfies the requirements of Rule 23 and further finds

                                 15                              that the Class has at all times been adequately represented by the Named Plaintiffs

                                 16                              and Class Counsel.

                                 17                      2.      The Notice approved by the Court was provided by First Class direct mail to the last-

                                 18                              known address of each of the individuals identified as Class Members. In addition,

                                 19                              follow-up efforts were made to send the Notice to those individuals whose original

                                 20                              notices were returned as undeliverable. The Notice adequately described all of the

                                 21                              relevant and necessary parts of the proposed Settlement Agreement, the request for

                                 22                              incentive payments to the Named Plaintiffs, and Class Counsel's motion for an award

                                 23                              of attorneys' fees and costs.

                                 24                      3.      The Court finds that the Notice given to the Class fully complied with Rule 23, was

                                 25                              the best notice practicable, satisfied all constitutional due process concerns, and

                                 26                              provides the Court with jurisdiction over the Class Members.

                                 27                      4.      The Court has concluded that the Settlement, as set forth in the Settlement Agreement

                                 28                              executed by the parties, is fair, reasonable, and adequate under state and federal laws,
                                                                 including the Fair Labor Standards Act 29 U.S.C. § 200 et. seq. The Court finds that
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                                                        REVISED [PROPOSED] ORDER OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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                                     2                           the uncertainty and delay of further litigation strongly supports the reasonableness

                                     3                           and adequacy of the $1,900,000 Settlement Fund established pursuant to the

                                     4                           Settlement Agreement.

                                     5                     5.    Out of the identified Class Members who were notified, none have objected to any

                                     6                           aspect of the proposed settlement. The reaction of the Class to the proposed

                                     7                           settlement strongly supports the conclusion that the proposed Settlement is fair,

                                     8                           reasonable, and adequate.

                                     9                     6.    The Settlement is HEREBY APPROVED in its entirety.

                                 10                        7.    The Settlement Fund shall be dispersed in accordance with the Settlement Agreement

                                 11                              as detailed in the Motion for Conditional Certification of Settlement Class,

                                 12                              Preliminary Approval of Settlement, and Approval of Class Notice and Settlement

                                 13                              Administrator, granted on March 29, 2011.

                                 14                        8.    Representative Plaintiffs Holli Mendez and Kathryn Hawkes are hereby awarded

                                 15                              $5,000 each for their time and effort in pursuing this litigation.

                                 16                        9.    Plaintiffs' application for Attorneys’ fees in the amount of $475,000, and costs in the

                                 17                              amount of $15,000 is hereby granted in accordance with In re Immune Response Sec.

                                 18                              Litig., 497 F. Supp. 2d 1166, 1175 (S.D. Cal. 2007); Staton v. Boeing Co., 327 F.3d

                                 19                              938, 967 (9th Cir. 2003); and Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980).

                                 20                        10.   This case is hereby DISMISSED WITH PREJUDICE, with each party to bear his,

                                 21                              her, or its own costs, except as set forth herein, and with this Court retaining

                                 22                              exclusive jurisdiction to enforce the Settlement Agreement, including over

                                 23                              disbursement of the Settlement Fund.

                                 24                        11.   ENJOINING all members of the Settlement Class who have not filed a timely

                                 25               Request for Exclusion (Opt-Out) from prosecuting against Defendant, its present or former parent

                                 26               companies, subsidiaries, related or affiliated companies, shareholders, officers, directors, employees,

                                 27               agents, attorneys, insurers, and successors and assigns, and any individual or entity which could be

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                                                          REVISED [PROPOSED] ORDER OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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                                     2            jointly liable with Defendant, any individual or class or collective claims released herein.

                                     3                    11.     Final Judgment shall be entered in accordance with this Order. The Clerk of Court is

                                     4            thereafter directed to close this file.

                                     5                    IT IS SO ORDERED.

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                                     7            DATED: August 5, 2011

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